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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )              8:06CR119
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
LEONEL GARCIA-PADILLA,                             )
MARTIN GONZALEZ-MORENO and                         )
SERGIO DE LA O-CEGUEDA,                            )
                                                   )
                     Defendants.                   )
       This matter is before the court on the motion to continue by defendant Sergio De La
O-Cegueda (De La O-Cegueda) (Filing No. 57). De La O-Cegueda seeks a continuance
of the trial of this matter which is scheduled for October 2, 2006. De La O-Cegueda's
counsel represents that counsel for the government has no objection to the motion. De La
O-Cegueda's counsel represents that De La O-Cegueda consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Upon consideration, the motion will be granted, and trial will be
continued as to all defendants.
       IT IS ORDERED:
       1.     De La O-Cegueda's motion to continue trial (Filing No. 57) is granted.
       2.     Trial of this matter is re-scheduled as to all defendants for November 6,
2006, before Chief Judge Joseph F. Bataillon and a jury. The ends of justice have been
served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between September 26, 2006 and November 6, 2006, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that defendants' counsel require additional time to adequately prepare the
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B).
       DATED this 26th day of September, 2006.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
